         Case 1:21-cr-00054-TSC Document 37 Filed 11/05/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                         )
UNITED STATES OF AMERICA,                )
         Plaintiff                       )
                                         )
                                         )
             v.                          )      Criminal Case No. 21-cr-00054 (TSC)
                                         )
                                         )
MATTHEW CARL MAZZOCCO,                   )
        Defendant.                       )
                                         )

                                OPINION AND ORDER

      On October 20, 2021, Defendant Matthew Carl Mazzocco was sentenced to serve

forty-five days of imprisonment and sixty hours of community service after he pled

guilty to Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e)(2)(G). Mr. Mazzocco was ordered to surrender for service of

sentence at the institution designated by the Bureau of Prisons as notified by the

Probation or Pretrial Services Office. On October 28, 2021, Mr. Mazzocco moved,

unopposed, to schedule his self-surrender to the custody of the Bureau of Prisons after

January 1, 2022. Dkt. No. 36.

      Upon consideration of that unopposed motion and the arguments contained

therein, it is hereby ORDERED that the Motion for Extension of Time to Self-Surrender

is GRANTED. Defendant must self-surrender to the custody of the Bureau of Prisons

on or expeditiously after January 1, 2022.


Date: November 5, 2021

                                         Tanya S. Chutkan
                                         TANYA S. CHUTKAN
                                         United States District Judge
